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            IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                        8:92CR14
                              )
          v.                  )
                              )
ROY WILLIAMS,                 )                MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on the defendant’s

motion filed pursuant to 18 U.S.C. § 3582(c)(2) seeking an order

directing that the Court resentence defendant based upon the

enactment of Amendment 591 to the United States Sentencing

Guidelines (Filing No. 1038).        Section 3582(c)(2) provides that a

defendant who has been sentenced “to a term of imprisonment based

on a sentencing range that has subsequently been lowered by the

sentencing commission pursuant to 28 U.S.C. § 994(O), upon motion

of the defendant . . . the Court may reduce the term of

imprisonment, after considering the factors set forth in

§ 3553(a) . . . .”

           The defendant was sentenced on July 28, 1993, to a term

of imprisonment of two hundred ninety-two (292) months.                 This was

the low end of the guideline range.         Defendant’s motion is

without merit for the following reasons:

           1) Amendment 591 was not adopted and made retroactive.

It was adopted by the United States Sentencing Commission and
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made effective November 1, 2000.        Accordingly, a sentence imposed

in 1993 is not subject to modification pursuant to the provisions

of that amendment if it were applicable.

           2) The defendant was charged with conspiracy to

distribute crack and powder cocaine, in violation of 21 U.S.C.

§ 646 and 841(a)(1).     Section 841(a)(1) provides that a violation

of that section carries a sentence of not less than ten years nor

more than life.    The jury found the defendant guilty of the

conspiracy charged in Count I of the indictment, and the

defendant’s sentence was calculated under the then-applicable

United States Sentencing Guidelines, which called for a sentence

of two hundred ninety-two (292) months.           The guideline range

under which defendant was sentenced has not been changed since

1993.

           There is nothing in Amendment 591 which, even if

retroactive to 1993, would invalidate the calculation of the

defendant’s sentence or support a finding that the sentence

should be set aside and the defendant resentenced.              For these

reasons, defendant’s motion for resentencing pursuant to 18




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U.S.C. § 3582(c)(2) will be denied.          A separate order will be

entered in accordance with this memorandum opinion.

           DATED this 4th day of January, 2007.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court




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